        Case 1:17-cv-00080-SPW Document 121 Filed 06/01/21 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTiaCT OF MONTANA
                            BILLINGS DIVISION




  WILDEARTH GUAPU^IANS and
  MONTANA ENVIRONMENTAL                         CV 17-80-BLG-SPW
 INFORMATION CENTER,

                Plaintiffs,                      ORDER


 vs.



 DEB HAALAND,in her official
 capacity of Secretary of the Interior, et.
 al,

                Federal Defendants.


 and


 SPRING CREEK COAL,LLC,and
 NAVAJO TRANSITIONAL ENERGY
 COMPANY,LLC.,

               Intervenor Defendants.


       Defendants move for the admission of Aukjen Ingraham to practice before

the Court in the above captioned matter with Lindsay Thane ofPortland, Oregon,

designated as local counsel. The motion complies with Local Rule 83.1(d).

       IT IS SO ORDERED that Defendants' motion to admit Aukjen Ingraham to

appear pro hac vice(Doc. 119)is GRANTED and she is authorized to appear as
Case 1:17-cv-00080-SPW Document 121 Filed 06/01/21 Page 2 of 2
